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17
                                UNITED STATES DISTRICT COURT FOR THE
18                                NORTHERN DISTRICT OF CALIFORNIA

19

20
     DOE, individually and on behalf of others
21   similarly situated,                              CASE NO. 3:22-cv-04680-AGT

22                 Plaintiff,                         PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                      TO RELATE CASES
23                      v.

24   META PLATFORMS, INC.                             Related cases:
                                                      (1) John Doe v. Meta Platforms, Inc.,
25                 Defendant.                         Case No. 3:22-cv-03580-WHO

26                                                    (2) Jane Doe v. v. Meta Platforms Inc., et al.,
                                                      Case No. 3:22-cv-04293-WHO
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     _________________________________________________________________________________
                             PLAINTIFF’S ADMINISTRATIVE MOTION TO RELATE CASES
                                           CASE NO: 3:22-cv-04680-AGT
             Case 3:22-cv-03580-WHO Document 43 Filed 08/19/22 Page 2 of 3




 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2            PLEASE TAKE NOTICE that, pursuant to Civil Local Rule 3-12, Plaintiff submits this
 3   administrative motion for the Court to consider whether Doe v. Meta Platforms, Inc., Case No. 22-
 4   cv-04680-AGT (“Doe”), filed in this District on August 15, 2022, should be related to: (1) John Doe
 5   v. Meta Platforms, Inc., Case No. 3:22-cv-03580-WHO (“John Doe”) and (2) Jane Doe v. Meta
 6   Platforms, Inc., f/k/a Facebook, Inc., UCSF Medica Center, and Dignity Health Medical
 7   Foundation, Case No. 3:22-cv-04293-WHO (“Jane Doe”). Doe has been assigned to Magistrate
 8   Judge Alex G. Tse. Meanwhile, the John Doe and Jane Doe cases were already related on August
 9   15, 2022, and those cases are pending before Judge William H. Orrick.
10            Defendant Meta Platforms, Inc., Plaintiff John Doe, and Plaintiff Jane Doe have all
11   consented to Plaintiff Doe’s motion to relate. Plaintiff Doe was unable to contact UCSF Medical
12   Center and Dignity Health Medical Foundation because they have not appeared in Jane Doe v. Meta
13   Platforms, Inc., f/k/a Facebook, Inc., UCSF Medica Center, and Dignity Health Medical
14   Foundation, Case No. 3:22-cv-04293-WHO.
15             Under Local Rule 3-12(a), “An action is related to another when: (1) The actions concern
16   substantially the same parties, property, transaction or event and (2) It appears likely that there will
17   be an unduly burdensome duplication of labor and expense or conflicting results if the cases are
18   conducted before different Judges.” Here, both criteria are satisfied.
19            The Doe, John Doe, and Jane Doe actions concern substantially the same parties, property,
20   transactions or events. All three cases are proposed class actions against Meta Platforms, Inc.1 All
21   three cases concern Meta Platform’s use of the Meta Pixel to intercept communications between
22   patients and their healthcare providers. See e.g., Doe, Case No. 22-cv-04680-AGT, ECF No. 1 at
23   5:19-20; John Doe, Case No. 3:22-cv-03580-WHO, ECF No. 22 at 27:23-25; Jane Doe, 3:22-cv-
24   04293-WHO, ECF No. 1 at 52:4-6. All three cases seek to represent overlapping classes of people.
25   All three cases allege some of the same causes of action against Meta Platforms, Inc., including (1)
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          John Doe also named UCSF Medical Center and Dignity Health Medical Foundation as
28   defendants.

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                           PLAINTIFF’S ADMINISTRATIVE MOTION TO RELATE CASES
                                         CASE NO: 3:22-cv-04680-AGT
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